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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 NATASHA NUNN-PAIGE and                            )
 DEMETRIUS PAIGE,                                  )
                                                   )
                                Plaintiffs,        )
                                                   )
                        v.                         )
                                                   )
 JAMES WORTMAN, M.D., YAM TONG,                    )
 D.O., ALAN PEACEMAN, M.D., JUAN                   )
                                                       No.
 APARICIO, M.D., OLUWATENIOLA                      )
 BROWN, M.D., NORTHWESTERN                         )
                                                       Judge
 MEMORIAL HOSPITAL,                                )
 NORTHWESTERN MEMORIAL                             )
                                                       Formerly Case No. 2018 L 11716
 FACULTY FOUNDATION,                               )
                                                       Circuit Court of Cook County, Illinois
 RIVERFOREST ADVANCED IMAGING                      )
 CENTER d/b/a VHS ACQUISITION                      )
 SUBSIDIARY NUMBER 4, INC., WEST                   )
 SUBURBAN HOSPITAL MEDICAL                         )
 CENTER d/b/a RESURRECTION                         )
 UNIVERSITY, and THOMAS FINGLER,                   )
 M.D.,                                             )
                                                   )
                                Defendants.        )

                  NOTICE OF REMOVAL OF A CIVIL ACTION AND
               SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:      Dorothy Brown                                 Motherway & Napleton, LLP
           Clerk of the Circuit Court                    140 S. Dearborn Street, Suite 1500
           Richard J. Daley Center, Room 1001            Chicago, Illinois 60603
           50 W. Washington Street                       Attorneys for Plaintiffs
           Chicago, Illinois 60602

           See additional service list attached


         The United States, by its attorney, John R. Lausch, Jr., United States Attorney for the

Northern District of Illinois, submits this notice of removal of the above-captioned civil action

from the Circuit Court of Cook County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the following:
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       1.      On October 29, 2018, plaintiffs Natasha Nunn-Paige and Demetrius Paige

commenced the above civil action against James Wortman, M.D., alleging medical malpractice.

Plaintiffs also named Yam Tong, D.O., and others as “respondents-in-discovery,” which, under

Illinois rules of civil procedure, obligated Dr. Tong to respond to discovery in the same manner as

a named defendant. 735 ILCS §5/2-402. A copy of the state court complaint is attached as Exhibit

A.

       2.      Dr. Tong is an employee of PCC Community Wellness Center. For purposes of

this lawsuit, PCC Community Wellness Center is a private entity that receives grant money from

the Public Health Service pursuant to 42 U.S.C. § 233. Exhibit B. Dr. Tong was acting within the

scope of his employment at PCC Community Wellness Center with respect to the incidents

referred to in the complaint. Id.

       3.      This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that defendant PCC

Community Wellness Center was a private entity receiving grant money from the Public Health

Service and that defendant Yam Tong, D.O., was acting within the scope of his employment at

PCC Community Wellness Center with respect to the incidents referred to in the complaint.

Exhibit B.

       4.      This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       5.      Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 42 U.S.C. § 233(c), this civil action is deemed an action against the

United States, and the United States is substituted as the sole federal party defendant in place of

Yam Tong, D.O.



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       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of Yam Tong, D.O.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

                                             By: s/ Sarah F. Terman
                                                SARAH F. TERMAN
                                                Assistant United States Attorney
                                                219 South Dearborn Street
                                                Chicago, Illinois 60604
                                                (312) 469-6201
                                                sarah.terman@usdoj.gov




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                                    Additional Service List

Sherri M. Arrigo
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140 S. Dearborn St., Suite 800
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Attorneys for James Wortman, M.D.

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Advance Imaging Center b/b/a VHA Acquisition Subsidiary Number 4, Inc.

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Peaceman, M.D., and Oluwateniola Brown, M.D.

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                   Exhibit A
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                               12-Person Jury



BZS:cms

              IN TllECOtCUIT COURf OF COOK cot)NTY, ILLINOIS
                            COUNTY DEPARTMENT, LAW DIVISION

NATASHA NUNN-J'>ATGE., and                      )
                                                                            FILED
'DEMETRJUS .PAIGE,                              )                         10/29/2018 4:18 PM
                                                )                        DOROTHY BROWN
                              Plaintiff.'! ,    ).                        CIRCUIT CLERK
        ~                                       )
                                                                         COOK COUNTY, IL
                                                )
                                                }
JAMES WORTMAN, kLD.,,                           )
                                                )
                               D~fendnnt,       .)
                                                .)
and                                             )
                                                )
                                                          2018L011716
YAM TONG, I).0.f                                )
ALAN PEACEMAN:·M:D-'.,          }
 JUAN.APARICIO.) M.D.,         .)
 OL.UWATENIOLA BROWN, ~LD.,    )
 ~ORTHW:ESTERN MEMORIAL         }
 HOSPITAL"                      )
'NORTHWESTER1'\J MEDICAL       .)
 l~ACUt'tY FOVNDATlON,          J
 RIVERFORE$T ADAVNCED .JMAGINO )
 CENT.ER d/b/a VHS ACQUISITION   )
 SUBSID1AilYNUMBER4, 'INC., .    )
 WEST SUBURBAN ·HOSPITAL         )
MED.ICt\L CEN'ritR'·ciJbin      ..                  )
RESURRECTION UNIVERSITY, and                     )
THOMAS FIGLER, .M.D.                             )
                                                    )
               Respoi1clen1s in Di.sco:v.ery:       )

                                       COMPLAINT AT LAW

         NO\V COME the. Plaintiffs, NATASHA NUNN PAlGE ·and ·DEMETRlUS PAIGE; by

 and thrnug.h their attorneys, MOTHEllWAY & NALi>LETON, LLP,. and .complaining of the

 defendnnr, JAMES·WORt MAN, M.D., st.ates.as tollows·:·

 COUNT 1- PROFESSIONAL NEGLlGENCE/,JAMES WORTMAN, M.D.
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         I.    At all times herein mentioned the defendant,.JAMES WORTMAN, M.D., was a

~adiologist duly li~ensed to practic~ m¢dicine in the state of'iitinois·( .

         2.     01' June 9, 2016, defcnda_nt JAMES· WORTMAN,.M.D, interpreted an ultrasound

ordered by respondent in- discovery, YAM TONdr D:b.

         3.     011 October 24:, 20'16, JAMES         WOitfMAN, MJ). .interpreted an uttrasQund
ordered by respondent in discovery, YAM TONG, 0.0.

         4i     On June .9, 2016 un.d ·October 24, 2016, and coritinuing theretiftcr, d·etendant

JAMES WORTMAN, M.D. deviated from the !itanda.i'd of care in· om~ or 11'10re of the foll~)wing

r~l:\pects:

                (a)     failed to ·pro_perly inter.pref.the .fotal'.ultwsounq; and/or
                (b)     faile4 to .report ~ plac~11tai accretc; audlo.r
                (c)     fai'ied to report a .placental prev.ia.

         5.     As a proximate..res.ult of one or more ofthe aforesaid negligent acts or oniissions

of the defendant, JAMES WORTMAN,
                             .                .. NUNN PAGIE
                                 M.()., NATAHSA                                         ana DEMETRIUS
                                                                                            ..      .

PAIGE suffered from injuries of a personal ·and p~c\m.iar.y nature.

         6.     Attached hereto and 111ade part thereO'(·is ,an aiiidavit-cxec.uted pursuant to 735

ILCS 5/2-622.

          WHEREFORE,. j,laintiffs, NATAHSA NUNN PAIGE ,and DEM~TRIUS PAIGE,

demanqs judgment againstthe defendant, JAMES WORTMAN, M.D., in·an amount in cxcc!;S of

the jurisdictional Iiniits of tlte Circuit Court of Cook County, Law .bivision.

 COUNT JI- LOSS OF CONSORTlUM[JAMES )YORTMAN•.M~D.

         NOW COMES the- plabnift~ DEMETRIUS PA,IGE, .and complaining of dcfondant~

 JAMES WORTMAN, M.D., an.cl states.as foilows: .




                                                     2
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       1-4.      . The 'plafotiff, DEMETRtUS· l>AlOB, repeats imd reall~ges the allegations ·.in

paragraphs i through 4 of this Comp'iaint at Law,· as·H'fuUy·setforth herein.

       5.      At nil times herein mentioned, the plaintiff+ DEMETRiU$ PAIGE, was and he

remains the lawful spo)lsc·9f NATASHA NVNN ·PAIGE.

       6.       As:.a proximate· result of 011e or more Qf.lb.e foregoing ncglrgent nets .or ·omissions

of cnch defendant; the plaintiff: NATASHA        NUNN PAlGE, was ·injured and suffered damages
of a personal and pccunlary nature.

       7.       As n proximate 1·esult of one or more· of the aforesaid negligent acts and/or

omissions of each defet1dal'lt, the plaintiff, DEMETRJUS PAIGE. suffered lnjurfos to the mal'ital

rch,tions!lip and.the loss -of ~~n~rtium pf llis,. spouse.

        WHEREFORE, pJabitiff;          o·EMETR.IUS PAlGE, .demands judgment ·against                the

de.fondant·, JAMES WORTMAN, M.D. in a sum ·in excess of tlie jurisdictional limits of the

Circuit Court of.Cook-County, Law Divi~ion.

                                'RESPONDENTS.IN .DISCO.VERY

        Plaintiffs. NATASHA NUN?-t' PAIGE naJd DEMETRnJS PAIGE, hereby names YAM

TONG, D.O., ALANPEACEMAN, M.D. 1 JUAN APARIC.Id, M.D., OLUWATENIOLA

BROWN,        M.D,,    NORTHWESTERN 'MEMORIAL                    HOSPITAL, NORTHWESTERN

MED1CAL FACULTY FOUNDATION, RJVERFOREST ADA VNCED IMAGING CENTER

d/b/a VHS'ACQUISJTIQNSUBSfDIARY NUMBER 4, INC., WEST SUBURBAN. HOSPITAL

MEDICAL CENTER d/b/a RESURRECTION UNIVERS1TY, 11-:lOMAS FIGLER; M.D. as

Respondents in Discovery pursuuut to 735 ILCS 2-4.0.2.




                                                     J
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       Pursuant to ·nunois Supreme Court Rlile 222(b),>.the undersi'gned counsel forthe ·.piainttfr

avers that tl1e nJoil~y damages .h~rcin sought exceed        fltTY      THOUSAND ($50,000.00)

DOLLAl~S.


                                             Respectfuily·submitted,.



                                             k~d~.
                                             HRADLEY:-z. sctIULMru"'f
                                             i\ttQrncy for·plai1~tiff

MOTHERWAY & NAPLETON, LLP
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Attomcy,l'l'o. 56421.




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                     Exhibit B
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                                        CERTIFICATION

       Pursuant to the provisions of 42 U.S.C. § 233, and by virtue of the authority delegated to

me by the Attorney General under 28 C.F.R. § 15.4 and through the United States Attorney for the

Northern District of Illinois, I hereby certify that I have read the complaint in Natasha Nunn-Paige,

et al. v. James Wortman, et al., No. 18 L 11716 (Circuit Court of Cook County, Ill.), and all

attachments thereto. On the basis of the information now available, I find that at the relevant

times, the PCC Community Wellness Center (PCC) was a private entity receiving grant money

from the Public Health Service pursuant to 42 U.S.C. § 233. Further, I certify that Yam Tong,

D.O., was acting within the scope of his employment at the PCC Community Wellness Center

with respect to the incidents referred to in the complaint. Accordingly, for purposes of the above

case, Yam Tong, D.O., is deemed to be an employee of the United States pursuant to 42 U.S.C.

§ 233, for federal statutory tort purposes only.


                                               s/ Thomas Walsh
                                              THOMAS P. WALSH
                                              Chief, Civil Division
                                              Office of the United States Attorney
                                                  for the Northern District of Illinois

Date: April 4, 2019
